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                               EXHIBIT E
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                                             HIGHLY CONFIDENTIAL
                                  STRUCTURAL AND STEEL PRODUCTS
                                              SITUATION OVERVIEW
                                            IMMEDIATE ATTENTION
                                                                                SEPTEMBER 29, 2020




                                        EXPERIENCED. DISCIPLINED. BOLD.


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          SSP OVERVIEW


    • Structural and Steel Products (“SSP”) is a manufacturer/distributor of highway products based
      in Texas

    • Product offerings include distributed products (guardrails, crash cushions) and manufactured
      product (overhead sign structures, lighting/cell/utility poles, rail)

    • Principal equity holders:

            •   Highland Select Equity Fund, L.P. (via Trussway Holdings, LLC [1]): 76.6%
            •   Patriot Capital: 12.1%
            •   SSP Management Members: 6.6%
            •   Non-Management Members: 4.7%




    Note: [1] Trussway Holdings, LLC equity is 90% owned by Highland Select Equity Fund, L.P.
            • See Exhibit A for organizational chart
            • See Exhibit B for capital structure


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          SSP SALE PROCESS OVERVIEW

    • In the last ~12 months, SSP received indications of interest ranging from $45-$50MM from
      several different interested parties:

            • September 2019 – Arcosa: $45.0 - $50.0MM (for manufacturing business only)
            • November 2019 & January 2020 – VP of Guardrail: $7.5 - $10.0MM (for guardrail business only)
            • January 2020 – Merit Capital Partners (former Sponsor): $38.5MM (for entire business)
            • February 2020 – Millerbernd provided a verbal indication of $30.0 - $32.0 (for the manufacturing business only)
            • May 2020 – Race Rock Group (“RRG”): $45.0 - $50.0MM (for entire business)
            • July 2020 – DWM Holdings: $50MM (for entire business)


    • In addition to the IOIs received from the parties above, NDAs were executed, and confidential
      information shared with Sabre and Valmont. Both parties passed on the potential transaction
      with SSP, and, ultimately, they determined it was cheaper to build capacity than to buy SSP.

    • In August of 2020, SSP went exclusive with RRG and executed an LOI at $50MM; due diligence
      is underway and on-going with most of the due diligence completed, environmental and ERISA
      reviews remain outstanding.
                                                      ($MM)        EBITDA $50 LOI
                                                       LTM          $ 9.0 5.6x
                                                       2020E        $ 8.2 6.1x
                                                       3-Year Avg. $ 6.9 7.2x

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          SSP SALE PROCESS OVERVIEW – RACE ROCK GROUP

      •   SSP is in the process of negotiating a definitive agreement with Race Rock Group (“RRG”) to sell the business
          for $50MM
             •    RRG is a Houston-based private investment firm focused on making control, growth-oriented investments in lower
                  middle-market businesses throughout the US Gulf Coast and Mid America regions


      •   It’s estimated that the transaction proceeds will generate approximately $6.5MM for HCMLP
             •    ~$2.0MM for the Select Fund’s net interests
             •    Trussway Holdings, LLC proceeds will repay the ~$1.2MM HCMLP loans
             •    SSP will payoff the ~$2.7MM subordinated loan to HCMLP with the sales proceeds
             •    HCMLP will receive ~$0.5MM in management fees from SSP per the terms of a 2019 management services
                  agreement
             •    See Exhibit C for the complete waterfall of sale proceeds
      •   It’s estimated that the transaction proceeds will also generate ~$8.4MM, net for Trussway Holdings, LLC
      •   Trussway Holdings, LLC appears to currently owe ~$2.5MM to Dugaboy via a loan. This is under review, and
          the amount may be reserved for. The amended and restated note had a principal amount of $2.09MM as of
          Feb. 2019 and matures on Nov. 1, 2021. ~$370k of PIK interest has accrued since Feb 2019.
      •   A simultaneous signing and closing is anticipated to occur in late Oct. or early Nov. subject to completion of
          due diligence by RRG.
      •   The Debtor believes a potential sale of SSP maximizes value for all stakeholders and any delay in the sale process could
          impact value. The Debtor is seeking immediate pre-approval from the UCC to proceed with a potential transaction.

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          EXHIBIT A - EXISTING ORGANIZATIONAL STRUCTURE

                                                       Highland Select                    Other Shareholders +
                                                                                          LTIP + Options (Fully                        $2.5MM Dugaboy Note
                                                       Equity Fund, L.P.
                                                                                                Diluted)                                $1.2MM HCMLP Note


                                                              89.9%                               10.1%



                                     Current and Former               Trussway Holdings, LLC                  Patriot Capital III
               Former Highland
                                     Highland, Patriot, and                   (DE)                                SBIC, L.P.
                  Employees
                                        SSP Employees

                            1.1%                      10.3%                             76.6%                          12.1%



                                                                      SSP Holdings, LLC (DE)

                                                                                                                                       $2.7MM HCMLP Note


                                                                      SSPI Holdings, Inc. (DE)                     Entity being sold


                                                                           Structural and Steel
                                                                           Products, Inc. (TX)




                                              Structural and Steel
                                                                                      99%
                                             Management LLC (TX)


                                                                1%

                                                                        Structural and Steel
                                                                      Products Manufacturing,
                                                                             Ltd. (TX)


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          EXHIBIT B - SSP CAPITAL STRUCTURE

          • No current HCMLP employees have SSP Ownership
                  • Note: Jason Jelen and John Walker are current NexBank Securities, Inc. employees
                                                        Capital          Class A       Class B        Class P        Sharing
                      Member
                                                      Contribution        Units          Units          Units         Ratio
                      Trussway Holdings LLC          $19,058,098.18    19,058,098.18             -              -      76.6%
                      Patriot Capital III SBIC, L.P.      $3,000,000               -     3,000,000              -      12.1%
                      Matt Brace                                  $0               -             0      1,015,050       4.1%
                      Christine Klote                      $375,000                -       375,000              -       1.5%
                      Joseph Troop                         $300,000                -       300,000              -       1.2%
                      Chuck Steier                                $0               -             0        253,763       1.0%
                      2911 Capital Fund LP                 $200,000                -       200,000              -       0.8%
                      118 Capital Fund Inc.                $200,000                -       200,000              -       0.8%
                      Matthew Jameson*                     $100,000                -       100,000              -       0.4%
                      Lee Blackwell Parker III*            $100,000                -       100,000              -       0.4%
                      1610 Foundation Inc.                 $100,000                -       100,000              -       0.4%
                      Teri Robertson                         $60,000               -        60,000              -       0.2%
                      William Carl Moore, Jr.*               $40,000               -        40,000              -       0.2%
                      Jason Jelen                            $30,000               -        30,000              -       0.1%
                      Richard Thomas                         $25,000               -        25,000              -       0.1%
                      Scott Wilson*                          $25,000               -        25,000              -       0.1%
                      John Jeffrey Walker                    $10,000               -        10,000              -       0.0%

                      Totals:                        $23,623,098.18    19,058,098.18   4,565,000.00   1,268,813.00   100.0%

                      Authorized Units                                 19,058,098.18   4,565,000.00   1,753,224.00


                      *Denotes former Highland Capital Management, LP employee

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          EXHIBIT C - WATERFALL
         SSP Sale Price                                                       $         50,000,000
         Estimated closing adjustments
          Less: Principal & Interest                                                   (34,689,920)
          Less: Accrued Mgmt. Fees                                                        (532,053)
          Less: Closing Costs                                                             (750,000) Note 1: It’s anticipated that $3.2MM
                                                                                                    will be held in escrow until SSP’s PPP
          Plus: Cash                                                                     4,755,502
                                                                                                    loans are forgiven (SSP has applied for
         Total estimated closing adjustments                                  $        (31,216,471)
                                                                                                   forgiveness and expects to receive
         Net Proceeds                                                         $         18,783,529 forgiveness in 90-120 days). An
                                                                                                   additional $500k is estimated to be
         Trussway Holdings, LLC                                                             76.56%
                                                                                                   held in escrow for the R&W policy.
          Cash proceeds to Trussway Holdings, LLC [1]                                   14,381,312
          Potential Reserve for Dugaboy Note                                            (2,455,668)
          Repayment of HCMLP Note                                                       (1,158,429) Note 2: Per section 5.3 of the 4th A&R
         Net cash at Trussway Holdings, LLC                                   $         10,767,215 Credit & Guaranty Agreement, absent a
                                                                                                   waiver or amendment, a maximum of
         Maximum Restricted Distribution [2]                                  $          2,337,093 $5 million in the aggregate is allowed to
         Highland Select Equity Fund, L.P.                                                  89.90% be distributed, however, $2.7MM has
         Cash proceeds to Select Fund [3]                                     $          2,101,046 already been paid out.
                                                                                                                  $1.0MM: March ‘19
         Highland Capital Management, LP                                                    99.95%
          Cash proceeds to HCMLP                                                         2,099,996
                                                                                                                  $1.7MM: September ‘18
          HCMLP Note + Interest from Trussway Holdings, LLC                              1,158,429
          HCMLP Subordinated Note + Interest                                             2,661,928
          HCMLP Management Fees                                                            532,053
         Total estimated cash proceeds to HCMLP                               $          6,452,406

         [1] $2.8 million is held in escrow
         [2] Maximum allowable distribution per section 5.3 of 4th A&R Credit & Guaranty Agreement
         [3] Excludes paydown of any debt at Highland Select Equity Fund, L.P.

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          4 A&R CREDIT & GUARANTY AGREEMENT HIGHLIGHTS
           TH


      •   Trussway Holdings, LLC is a Guarantor of the loan to Trussway Industries, LLC
             •    THIS FOURTH AMENDED AND RESTATED CREDIT AND GUARANTY AGREEMENT dated as of May 15, 2017 among
                  TRUSSWAY INDUSTRIES, LLC, as borrower (“Borrower”), the Guarantors party hereto (the Borrower and the Guarantors
                  being collectively referred to herein as the “Credit Parties”, and each individually, a “Credit Party”), the financial
                  institutions from time to time parties hereto, each as a Lender (collectively, the “Lenders”), and NEXBANK, SSB, as
                  administrative agent for the Lenders (“Agent”).


      •   “Restricted Distribution“ is defined as, with respect “to any Person (i) any dividend or other distribution on any equity interest
          in such Person or (ii) any payment on account of (a) the purchase, redemption, retirement, defeasance, surrender or
          acquisition of any equity interests in such Person or any claim respecting the purchase or sale of any equity interest in such
          Person or (b) any option, warrant or other right to acquire any equity interests in such Person; provided that, the term
          “Restricted Distribution” shall not include any dividend or distribution payable solely in equity interests of such Person or
          warrants, options or other rights to purchase such equity interests.”


      •   Section 5.3 – Restricted Distributions. Borrower will not, and will not permit any Guarantor to, directly or indirectly, declare,
          order, pay, make or set apart any sum for any Restricted Distribution; provided that the foregoing shall not restrict or prohibit
          any wholly-owned Guarantor from making dividends or distributions to Borrower or any other wholly-owned Guarantor and
          provided, further, that the foregoing shall not restrict or prohibit Borrower from making dividends or distributions to Holdings
          on the Closing Date in the amount of up to $20,500,000.00, which amount represents funds received by Borrower from
          Trussway, LLC in connection with the Amegy Credit Facility. Notwithstanding the foregoing, Holdings may make Restricted
          Distributions in connection with the repurchase, redemption or retirement of its membership interests, or otherwise make
          payment in connection with appraisal rights related thereto, in each case, in an aggregate amount not to exceed
          $5,000,000.00.


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